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    Attorneys for State Defendants




                                 IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF OREGON



    RONALD-KENNETH STRASSER,                               Case No. 3:19-cv-01051-SI

                    Plaintiff,                             STATE DEFENDANTS' RESPONSE TO
                                                           PLAINTIFF'S MOTION FOR DEFAULT
           v.

     STATE OF OREGON, by and through
     Governor Kate Brown; Kate Brown, in her
     individual capacity, Shelley Hoffman (STATE
     RISK MANAGER), Eric Machado
     CLACKAMAS COUNTY RISK AND
     SAFETY MANAGER, CLACKAMAS
     COUNTY SHERIFF, Craig Roberts, in his
     individual capacity, CLACKAMAS COUNTY
     SHERIFF, Dave Ellington, in his individual
     capacity, CLACKAMAS COUNTY SHERIFF
     DEPUTY'S; Daniel Joseph O'Keefe, Greg
     Keppler, and Morgan Guthner, in their private
     capacity, CAPTAIN David O’Shaughnessy, in
     his private capacity, SERGEANT Corey R.
     Smith in his private capacity, Katy Coba,
     Department of Administrative Services,
     CLACKAMAS COUNTY CIRCUIT COURT
     OFFICER, JUDGE Robert D. Herndon,
     CLACKAMAS COUNTY CIRCUIT COURT
     OFFICER, JUDGE Jeffery S. Jones,
     CLACKAMAS COUNTY CIRCUIT COURT
     OFFICER, JUDGE Thomas J. Rastetter,
     Debbie Spradley, TRIAL COURT
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     ADMINISTRATOR, CLACKAMAS
     COUNTY DISTRICT ATTORNEY John S.
     Foote, Assistant D.A. Christopher K.
     Haywood, County Administrator Donald
     Krupp, Chief Executive Officer Deputy Laurel
     Butman, Commissioner Ken Humberston,
     Oregon State Sheriffs Association, Pat Garrett,
     2017 OSSA President & Washington County
     Sheriff, Department of Public Safety Systems
     and Training, DPI Security (formerly DePaul
     Security Service), all Clerks of Clackamas
     County Court and their associates, all other
     deputy’s, directly and indirectly involved, and
     John and Jane Does 1 to 100, et al., in equal
     fault (Black’s Law 5th, p. 711; also see 42 CJS
     “indemnity” subsection 27

                      Defendants,

     Joel Manley, Samantha Olson, Clackamas
     County Sheriff’s Office Professional Standard
     Unit, Lieutenant Ken Boell, Captain Shane
     Strangfield, Detective Dan Smith

                      Respondents.



              After finally making efforts to effectuate service of the Fourth Amended Complaint on

     the various defendants, Plaintiff has now filed a motion for an order finding all defendants in

     default for failure to respond to the Fourth Amended Complaint. ECF 96. The State Defendants

     (collectively, the State of Oregon, Governor Kate Brown, Shelley Hoffman, Katy Coba, Judge

     Robert Herndon, Judge Jeffrey Jones, Judge Thomas Rastetter, Debbie Spradley, John Foote,

     Christopher Heywood (misspelled as “Haywood” in the caption), and the Department of Public

     Safety Standards and Training), appearing specially and without waiver of any defense,

     including the immunity conferred by the Eleventh Amendment to the United States Constitution,

     respectfully request that the Court deny plaintiff’s motion.

              The State Defendants have already appeared and defended themselves against the Fourth

     Amended Complaint by filing a motion to dismiss (ECF 52), and the Court has issued an order

     granting that motion and dismissing the Fourth Amended Complaint with prejudice as against

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     the State Defendants. See ECF 68 (Opinion and Order). The State Defendants are not in default.

     The motion should be denied.

              Consistent with the dismissal, State Defendants are filing, contemporaneously with this

     response, a motion that the Court enter a limited judgment so that this matter can be conclusively

     resolved in their favor and they can be free from plaintiff’s harassing filings.

              DATED May 8, 2022.

                                                          Respectfully submitted,

                                                          ELLEN F. ROSENBLUM
                                                          Attorney General



                                                          s/ Jesse B. Davis
                                                          JESSE B. DAVIS #052290
                                                          Senior Assistant Attorney General
                                                          Trial Attorney
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                                    CERTIFICATE OF SERVICE

             I certify that on May 8, 2022, I served the foregoing STATE DEFENDANTS'

     RESPONSE TO PLAINTIFF’S MOTION FOR DEFAULT upon the parties hereto by the

     method indicated below, and addressed to the following:

     Ronald Kenneth Strasser                                  HAND DELIVERY
     151 S. Scott Street, Apt. #2                          X MAIL DELIVERY
     Carlton, OR 97111                                        OVERNIGHT MAIL
            Pro Se Plaintiff                                  TELECOPY (FAX)
                                                           X E-MAIL
                                                          ronaldkennethstrasser@mail.com


                                                        s/ Jesse B. Davis
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                                                        Of Attorneys for State Defendants




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